                       Case 6:19-bk-01350-CCJ         Doc 7     Filed 03/07/19     Page 1 of 5
                                       United States Bankruptcy Court
                                        Middle District of Florida
In re:                                                                                   Case No. 19-01350-CCJ
Larry Howard Romero                                                                      Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 113A-6           User: kbrickner                Page 1 of 3                  Date Rcvd: Mar 05, 2019
                               Form ID: 309A                  Total Noticed: 73


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 07, 2019.
db             +Larry Howard Romero,    14013 Shoreside Way #202,      Winter Garden, FL 34787-4990
28095350       +Beacon Medical Group,    710 N Niles Ave,     South Bend, IN 46617-1924
28095351       +Brenann Manna & Doamond PA,     800 W Monroe St,     Jacksonville, FL 32202-4836
28095355       +Capital One Auto Finance,     Attn: Bankruptcy Dept,     Po Box 30258,
                 Salt Lake City, UT 84130-0258
28095356       +Center for Pain Management,     851 Tarfalgar Ct. Ste 200E,     Maitland, FL 32751-7420
28095357       +Citibank North America,     Citicorp Credit Srvs/Centralized Bankrup,      Po Box 790040,
                 Saint Louis, MO 63179-0040
28095364       +Eric Jia,    Number 1 Broker LLC,    121 S. Orange Ave.,     Suite 1430A,    Orlando, FL 32801-3240
28095374        FP LLC,    d/b/a Orlando Neurosurgery,     1650 W Fairbanks Ave,    Winter Park, FL 32789
28095365       +Fairbanks Partners,    1605 W Fairbanks Ave,     Winter Park, FL 32789-4603
28095367       +Florida Cntr for Orthopaedic,     1555 Boren Drive,     Ocoee, FL 34761-2989
28095368        Florida Emergency Physicians,     PO Box 1070,    Dept. 4131,    Charlotte, NC 28201-1070
28095369        Florida Hospital Lab,    P.O Box 538800,     Orlando, FL 32853-8800
28095370       +Florida Hospital Med Center,      Patient Financial Svcs,     PO Box 538800,
                 Orlando, FL 32853-8800
28095372        Florida Hospital Orlando,     PO Box 538800,    Orlando, FL 32853-8800
28095373       +Florida Hospital Winter Gard,     2000 Fowler Grove Blvd.,     Winter Garden, FL 34787-5050
28095375        Geico,    Geico General Insurance Co.,     One GEICO Center,    Macon, GA 31295-0001
28095376       +Geneva Insurance Co,    c/o Irk Law Office, PC,      1500 West Oak St,    #200,
                 Zionsville, IN 46077-1827
28095377        Global Neuro & Spine,    Institute,     2442 NW Federal Highway,    Jensen Beach, FL 34957
28095378       +Global Neuro & Spine,    Institute,     4243 NW Federal Highway,    Jensen Beach, FL 34957-3600
28095381       +IOD Incorporated,    PO Box 19072,    Green Bay, WI 54307-9072
28095382        JLR Medical Group,    PO Box 948075,     Maitland, FL 32794-8075
28095383       +Joseph L Riley Anes Assoc,     c/o Frost - Arnett Co.,      Elmhurst Plaza,     1327B E Broadway St,
                 Campbellsville, KY 42718-1599
28095384       +Kevin B. Wilson,    Law Offices,    PO Box 24103,     Chattanooga, TN 37422-4103
28095386       +Mary Oberfell Lober,    4100 Edison Lakes Parkway,      Mishawaka, IN 46545-3465
28095387       +Merchants & Medical,    6324 Taylor Dr,     Flint, MI 48507-4685
28095388        Millennium Health,    PO Box 844468,     Dallas, TX 75284-4468
28095389       +Millennium Health,    16981 Via Tazon,     San Diego, CA 92127-1645
28095390       +Number 1 Broker, LLC,    3573 Conroy Rd., Ste 100,      Orlando, FL 32839-6493
28095391       +One Advantage LLC,    1232 W State Rd 2,     La Porte, IN 46350-5469
28095393       +Orange County Fire Resc,     PO Box 863291,    Orlando, FL 32886-3291
28095394       +Physicians Surgical,    Care Center,     1245 Orange Ave,    Winter Park, FL 32789-4954
28095395       +Physicians Surgical Medical,     Group,    PO Box 948075,    Maitland, FL 32794-8075
28095396        Radiology Specialists of FL,     PO Box 864552,    Orlando, FL 32886-4552
28095398        Saint Joseph Physicians,     Network PO Box 6309,     South Bend, IN 46660
28095399       +Saint Joseph Regional,    Med Cntr/Mish,     Dept CH 14309,    Palatine, IL 60055-0001
28095402        Simon Med Imaging Fl, LLC,     PO Box 203573,    Dallas, TX 75320-3573
28095403       +Sneeze and Snooze Clinic,     2417 S Berkshire Dr,     Goshen, IN 46526-6815
28095404        Spectrum,    f/k/a Bright House,    C/o Credit Protection Assoc,     PO Box 9035,
                 Addison, TX 75001-9035
28095405       +State of Florida,    Laboratory Services,     1217 N Pearl St,    Jacksonville, FL 32202-3926
28095406        State of Indiana,    Indianapolis, IN 46201
28095407       +Sunpass,    7941 Glades RD,    Boca Raton, FL 33434-4115
28095409       +Tri-State Adjustments, Inc,     PO Box 3219,    La Crosse, WI 54602-3219
28095410       +Triangle Digital Printing,     205 East Jefferson Blvd,     Mishawaka, IN 46545-6531
28095411       +Trust Rec Sv,    541 Otis Bowen Drive,     Munster, IN 46321-4158
28095413       +Verizon Legal Dept,    180 Washington Valley Rd,      Bedminster, NJ 07921-2123
28095414       +Wanda Maldonado,    260 Lookout Pl Ste 202,     Maitland, FL 32751-4485
28095415       +Wilson Law Firm,    1415 E Robinson St,     Suite A,    Orlando, FL 32801-2169

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: paulu@urichoffice.com Mar 06 2019 00:03:03       Paul L Urich,
                 Law Office of Paul L Urich PA,    1510 East Colonial Drive,    Suite 204,    Orlando, FL 32803
tr             +EDI: QAMAHENDRU.COM Mar 06 2019 04:58:00      Arvind Mahendru,    5703 Red Bug Lake Road,
                 Suite 284,   Winter Springs, FL 32708-4969
ust            +E-mail/Text: ustp.region21.or.ecf@usdoj.gov Mar 06 2019 00:03:41
                 United States Trustee - ORL7/13,    Office of the United States Trustee,
                 George C Young Federal Building,    400 West Washington Street, Suite 1100,
                 Orlando, FL 32801-2210
28095347        E-mail/Text: ebn@americollect.com Mar 06 2019 00:04:10       Americollect Inc,    Po Box 1566,
                 1851 S Alverno Rd,    Manitowoc, WI 54221
28095346        EDI: ACBK.COM Mar 06 2019 04:58:00      American Credit Acceptance,    P o Box 204531,
                 Dallas, TX 75320-4531
28095348       +E-mail/Text: pgt@rawlingsandassociates.com Mar 06 2019 00:04:37       Anthem Blue Cross and,
                 Blue Shield (Anthem),    c/o Rawlings Financial Svcs,   PO Box 2020,    La Grange, KY 40031-2020
28095349        EDI: BANKAMER2.COM Mar 06 2019 04:58:00      Bank of America-Bkcy Dept,     PO Box 9000,
                 Getzville, NY 14068-9000
28095353       +EDI: CAPITALONE.COM Mar 06 2019 04:58:00      Capital One,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
                         Case 6:19-bk-01350-CCJ                  Doc 7       Filed 03/07/19         Page 2 of 5



District/off: 113A-6                  User: kbrickner                    Page 2 of 3                          Date Rcvd: Mar 05, 2019
                                      Form ID: 309A                      Total Noticed: 73


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
28095354        EDI: CAPONEAUTO.COM Mar 06 2019 04:58:00       Capital One Auto Finance,    PO Box 260848,
                 Plano, TX 75026-0848
28095358       +EDI: CONVERGENT.COM Mar 06 2019 04:58:00       Convergent Outsoucing, Inc,    Po Box 9004,
                 Renton, WA 98057-9004
28095359       +EDI: RCSFNBMARIN.COM Mar 06 2019 04:58:00       Credit One Bank Na,    Po Box 98873,
                 Las Vegas, NV 89193-8873
28095360       +EDI: CREDPROT.COM Mar 06 2019 04:58:00       Credit Protection Assoc,    Po Box 802068,
                 Dallas, TX 75380-2068
28095361       +EDI: CREDPROT.COM Mar 06 2019 04:58:00       Credit Protection Associatio,    PO Box 802068,
                 Dallas, TX 75380-2068
28095362        EDI: IRS.COM Mar 06 2019 04:58:00       Department of the Treasury,    Internal Revenue Service,
                 PO Box 9012,   Holtsville, NY 11742-9012
28095363       +E-mail/Text: electronicbkydocs@nelnet.net Mar 06 2019 00:04:05        Dept Of Ed/582/nelnet,
                 Attn: Claims/Bankruptcy,    Po Box 82505,    Lincoln, NE 68501-2505
28095366       +EDI: BLUESTEM Mar 06 2019 04:58:00       Fingerhut,   6250 Ridgewood Rd,
                 St Cloud, MN 56303-0820
28095344        EDI: FLDEPREV.COM Mar 06 2019 04:58:00       Florida Department of Revenue,    Bankruptcy Unit,
                 Post Office Box 6668,    Tallahassee FL 32314-6668
28095380       +E-mail/Text: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV Mar 06 2019 00:05:01
                 Indiana Dept of Revenue,    PO Box 40,    Indianapolis, IN 46206-0040
28095385       +EDI: CBSKOHLS.COM Mar 06 2019 04:58:00       Kohls/Capital One,    Kohls Credit,   Po Box 3043,
                 Milwaukee, WI 53201-3043
28095385       +E-mail/Text: bncnotices@becket-lee.com Mar 06 2019 00:03:29        Kohls/Capital One,
                 Kohls Credit,   Po Box 3043,    Milwaukee, WI 53201-3043
28095392       +E-mail/Text: bankruptcy@onlineis.com Mar 06 2019 00:04:33        Online Collections,    Po Box 1489,
                 Winterville, NC 28590-1489
28095343       +E-mail/Text: Bankruptcy@octaxcol.com Mar 06 2019 00:03:22        Orange County Tax Collector,
                 PO Box 545100,   Orlando FL 32854-5100
28095397        E-mail/Text: pgt@rawlingsandassociates.com Mar 06 2019 00:04:37        Rawlings Financial Services,
                 PO Box 2020,   La Grange, KY 40031-2020
28095400       +EDI: DRIV.COM Mar 06 2019 04:58:00       Santander Consumer USA,    Po Box 961245,
                 Ft Worth, TX 76161-0244
28095401        EDI: CBS7AVE Mar 06 2019 04:58:00       Seventh Avenue,   1112 7th Avenue,
                 Monroe, WI 53566-1364
28095408       +E-mail/Text: marisa.sheppard@timepayment.com Mar 06 2019 00:04:12        TimePayment Corp.,
                 1600 District Ave., Ste. 200,    Burlington, MA 01803-5233
28095412        E-mail/Text: accounts.receivable@uline.com Mar 06 2019 00:04:22        Uline,
                 Attn: Accounts Recievable,    PO Box 88741,    Chicago, IL 60680-1741
                                                                                               TOTAL: 27

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
28095345*         Internal Revenue Service,   Post Office Box 7346,    Philadelphia PA 19101-7346
28095352       ##+Caine & Weiner,   4101 McEwen Road,   Dallas, TX 75244-5109
28095371        ##Florida Hospital Medical Grp,   PO Box 538600,    Orlando, FL 32853-8600
28095379       ##+Habana Hospital Pharmacy,   4710 N Habana Ave,    Tampa, FL 33614-7143
                                                                                               TOTALS: 0, * 1, ## 3

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 07, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
                       Case 6:19-bk-01350-CCJ      Doc 7     Filed 03/07/19    Page 3 of 5



District/off: 113A-6          User: kbrickner              Page 3 of 3                 Date Rcvd: Mar 05, 2019
                              Form ID: 309A                Total Noticed: 73


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 5, 2019 at the address(es) listed below:
              Arvind Mahendru    amtrustee@gmail.com, amahendru@ecf.epiqsystems.com
              Paul L Urich   on behalf of Debtor Larry Howard Romero paulu@urichoffice.com,
               tiffaniw@urichoffice.com;shawnw@urichoffice.com;ecfacct@gmail.com;jenniferk@urichoffice.com;urich
               pr75150@notify.bestcase.com
              United States Trustee - ORL7/13   USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 3
                        Case 6:19-bk-01350-CCJ                         Doc 7   Filed 03/07/19           Page 4 of 5
Information to identify the case:
Debtor 1              Larry Howard Romero                                               Social Security number or ITIN        xxx−xx−4657
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Florida
                                                                                        Date case filed for chapter 7 3/4/19
Case number:          6:19−bk−01350−CCJ


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Larry Howard Romero

2.      All other names used in the
        last 8 years

3.     Address                               14013 Shoreside Way #202
                                             Winter Garden, FL 34787

4.     Debtor's attorney                     Paul L Urich                                           Contact phone (407) 896−3077
                                             Law Office of Paul L Urich PA
       Name and address                      1510 East Colonial Drive                               Email: paulu@urichoffice.com
                                             Suite 204
                                             Orlando, FL 32803

5.     Bankruptcy Trustee                    Arvind Mahendru                                        Contact phone (407) 504−2462
                                             5703 Red Bug Lake Road
       Name and address                      Suite 284
                                             Winter Springs, FL 32708

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim
trustee pursuant to 11 USC § 701.
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
                          Case 6:19-bk-01350-CCJ                       Doc 7          Filed 03/07/19              Page 5 of 5
Debtor Larry Howard Romero                                                                                        Case number 6:19−bk−01350−CCJ


6. Bankruptcy Clerk's Office                    George C. Young Federal Courthouse                               Hours open:
                                                400 West Washington Street                                       Monday − Friday 8:30 AM −
    Documents in this case may be filed at this Suite 5100                                                       4:00PM
    address. You may inspect all records filed Orlando, FL 32801
    in this case at this office or online at
    www.pacer.gov.                                                                                               Contact phone 407−237−8000

                                                                                                                 Date: March 5, 2019

7. Meeting of creditors                          April 2, 2019 at 11:30 AM                                       Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a George C. Young Courthouse,
    questioned under oath. In a joint case,      later date. If so, the date will be on the court Suite 1203−B, 400 West
    both spouses must attend. Creditors may
    attend, but are not required to do so. You   docket.                                          Washington Street, Orlando, FL
    are reminded that Local Rule 5073−1                                                           32801
    restricts the entry of personal electronic     *** Debtor(s) must present Photo ID and acceptable
    devices into the Courthouse.                  proof of Social Security Number at § 341 meeting. ***


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                    Filing deadline: June 3, 2019
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                               Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as             conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling
                                                 you that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if
                                                 you have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                                 the objection by the deadline to object to exemptions in line 9.


13. Voice Case Info. System                      McVCIS provides basic case information concerning deadlines such as case opening, discharge,
    (McVCIS)                                     and closing dates, and whether a case has assets or not. McVCIS is accessible 24 hours a day
                                                 except during routine maintenance. To access McVCIS toll free call 1−866−222−8029.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                   page 2
